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Case 2:10-bk-46350-BB Doc 1-2 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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Case 2:10-bk-46350-BB Doc 1-2 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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Case 2:10-bk-46350-BB Doc 1-2 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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Case 2:10-bk-46350-BB Doc 1-2 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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Case 2:10-bk-46350-BB Doc 1-2 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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Case 2:10-bk-46350-BB Doc 1-2 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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                   Master Mailing Matrix - part 2 Page 11 of 42
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Case 2:10-bk-46350-BB Doc 1-2 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 2 Page 14 of 42
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Case 2:10-bk-46350-BB Doc 1-2 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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                   Master Mailing Matrix - part 2 Page 17 of 42
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                   Master Mailing Matrix - part 2 Page 18 of 42
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Case 2:10-bk-46350-BB Doc 1-2 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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                   Master Mailing Matrix - part 2 Page 21 of 42
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Case 2:10-bk-46350-BB Doc 1-2 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 2 Page 26 of 42
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